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   16
                                      UNITED STATES DISTRICT COURT
   17
                                   CENTRAL DISTRICT OF CALIFORNIA
   18

   19     IN RE: NATIONAL FOOTBALL                        Case No. 2:15-ml-02668−PSG (SKx)
   20
          LEAGUE’S “SUNDAY TICKET”                        NFL DEFENDANTS’ MOTION IN
          ANTITRUST LITIGATION                            LIMINE NO. 4 TO EXCLUDE
   21     ______________________________                  REFERENCE TO THE PRICING
                                                          ARRANGEMENTS FOR
   22                                                     NFLSUNDAYTICKET.TV
          THIS DOCUMENT RELATES TO:
   23                                                     Judge: Hon. Philip S. Gutierrez
          ALL ACTIONS
   24
                                                          Date: February 7, 2024
                                                          Time: 2:30 p.m.
   25                                                     Courtroom: First Street Courthouse
   26                                                                350 West 1st Street
                                                                     Courtroom 6A
   27                                                                Los Angeles, CA 90012
   28
         Case No. 2:15-ml-02668-PSG (SKx)        NFL Defendants’ Motion In Limine No. 4 To Exclude Reference To The
                                                 Pricing Arrangements For NFLSundayTicket.TV
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    1           The NFL Defendants move in limine to exclude evidence regarding the
    2                                            product—nflsundayticket.TV—that is not at
    3   issue in this litigation.
    4           NFL Sunday Ticket, the product at issue in this litigation, was first distributed
    5   by DirecTV, a satellite provider, beginning in the 1994 season. In 2009,
    6

    7              . Pastan Decl. Ex. 3, Dyckes Dep. Tr. 66:18–24. .TV allowed customers who
    8   could not access satellite television—such as college students or certain fans living
    9   in cities who lacked the ability to install a satellite dish—to livestream out-of-market
   10   games over the internet. .TV was a limited offering,                                                         ,
   11   and distributed on a different platform from Sunday Ticket. See, e.g., ECF No. 1000-
   12   25, Rolapp Dep. Tr. 182:3–184:23; Pastan Decl. Ex. 3, Dyckes Dep. Tr. 31:17–32:9,
   13   47:25–49:20, 50:25–51:7.
   14

   15                           See id.
   16           This motion is narrow. Recognizing that there are some similarities between
   17   these products that could be relevant, the NFL does not seek to exclude evidence of
   18   .TV entirely.
   19

   20                                          , creates substantial risk of jury confusion,
   21   distraction, and misunderstanding. Accordingly, evidence of the .TV pricing
   22   authority is irrelevant under Rule 401 and should be excluded under Rule 403.
   23           “[R]elevant admissible evidence includes evidence having ‘any tendency to
   24   make a fact more or less probable’ so long as ‘the fact is of consequence in
   25   determining the action.’” Lam v. City of Los Banos, 976 F.3d 986, 1006 (9th Cir.
   26   2020) (quoting Fed. R. Evid. 401). Even under this lenient standard, evidence about
   27   the NFL’s role in .TV’s pricing is not relevant.
   28

                                                     1
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    1            . Indeed, .TV subscribers were excluded from Plaintiffs’ class definition, see
    2   ECF No. 630-1, Mem. Supp. Pls.’ Mot. Class Cert., at 1 n.1, and ultimately from the
    3   certified Sunday Ticket class, In re Nat’l Football League’s Sunday Ticket Antitrust
    4   Litig., 2023 WL 1813530, at *16 n.1 (C.D. Cal. Feb. 7, 2023), demonstrating that the
    5   details of the                                              the .TV product are not relevant, see
    6   Campbell v. Facebook Inc., 315 F.R.D. 250, 260 (N.D. Cal. 2016); Goldemberg v.
    7   Johnson & Johnson Consumer Cos., Inc., 317 F.R.D. 374, 390 (S.D.N.Y. 2016).
    8           Evidence                                                   also would create substantial risks
    9   of confusing the jury. See Fed. R. Evid. 403; KB Home v. Ill. Union Ins. Co., 2023
   10   WL 3433556, at *7 (C.D. Cal. Mar. 30, 2023) (bifurcating similar but legally distinct
   11   factual issues to avoid jury confusion).
   12

   13

   14                                                              ” ECF No. 986-2, Resp. Stmt. Gen. Iss.
   15   & Add’l Gen. Iss. Supp. NFL Defs.’ Mot. Summ. J. ¶¶ 60–61. And the NFL’s role in
   16   Sunday Ticket                       as a practical matter—beyond that contractual language—is a
   17   point of debate between the parties. See id. Allowing testimony about                                          of a
   18   different product                                                                  risks confusing the jury
   19   about which products and agreements are being challenged, and
   20                       . See ConsumerDirect, Inc. v. Pentius, LLC, 2023 WL 8114941, at *3
   21   (C.D. Cal. Oct. 4, 2023) (excluding evidence of an investigation into the defendant’s
   22   prior business as unduly prejudicial in a suit against the defendant’s current business).
   23           In addition, if evidence about .                         were introduced at trial, Defendants
   24   would need to explain why and
   25                                                 , leading the jury further from the product actually
   26   at issue in this case. This likelihood of jury distraction further weighs heavily in favor
   27   of excluding references to the .TV                                 . See, e.g., Edmonds v. City of Los
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    1   Angeles, 2023 WL 8119197, at *2 (C.D. Cal. Oct. 6, 2023); Relevant Grp., LLC v.
    2   Nourmand, 2022 WL 18356631, at *6 (C.D. Cal. Dec. 9, 2022).
    3           Evidence regarding a separate agreement governing                                the separate
    4   .TV product is not relevant to this case, and risks distracting the jury from the
    5   contracts that are at issue. Because the issue is entirely irrelevant while the risk of
    6   confusion is high, the Court should exclude evidence of                               at trial.
    7   Dated: January 5, 2024                 Respectfully submitted,
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         Case No. 2:15-ml-02668-PSG (SKx)   NFL Defendants’ Motion In Limine No. 4 To Exclude Reference To The
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